8:05-cr-00083-RFR-MDN         Doc # 32     Filed: 07/06/05    Page 1 of 1 - Page ID # 128




                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                     Plaintiff,               )
                                              )                   8:05CR83
       vs.                                    )
                                              )                 ORDER
MANUEL L. MARTINEZ and                        )            CONTINUING TRIAL
BONNIE S. TIMLICK,                            )
                                              )
                     Defendants.


        This matter is before the court on the motion of Bonnie S. Timlick to continue trial
(#31), now set for July 26, 2005. The motion includes a waiver of speedy trial in accordance
with NECrimR 12.1. For good cause shown, I find that the motion should be granted. Trial
of this matter will be continued to the next available trial setting.

      IT IS ORDERED that defendant’s MOTION TO CONTINUE TRIAL (#31) is granted, as
follows:

       1. The trial of this case is continued to Tuesday, August 30, 2005 before Judge
Laurie Smith Camp and a jury as to all defendants.

        2. The ends of justice will be served by granting such motion and outweigh the
interests of the public and the defendant in a speedy trial. Any additional time arising as a
result of the granting of this motion, that is, the time between July 26, 2005 and August 30,
2005, shall be deemed excludable time in any computation of time under the requirement of
the Speedy Trial Act due to defense counsel's scheduling conflict. The failure to grant
additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).

       DATED July 6, 2005.

                                          BY THE COURT:

                                          s/ F.A. Gossett
                                          United States Magistrate Judge
